Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 1 of 14




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                               1:22-cv-22237
                                     Case No. ________________

   AFFORDABLE AERIAL PHOTOGRAPHY, INC.,

          Plaintiff,

   v.

   PRESTIGE MOVING SYSTEM, INC. d/b/a
   JACOB AND SONS MOVING & STORAGE,

          Defendant.


                                              COMPLAINT

         Plaintiff Affordable Aerial Photography, Inc. (“Plaintiff”) sues defendant Prestige Moving

  System, Inc. d/b/a Jacob and Sons Moving & Storage (“Defendant”), and alleges as follows:


                                             THE PARTIES

         1.      Plaintiff is a corporation organized and existing under the laws of the State of

  Florida with its principal place of business located in Indian River County, Florida.

         2.      Defendant is a corporation organized and existing under the laws of the State of

  Florida with its principal place of business located 820 Foster Rd., Hallandale Beach, FL 33009.

  Defendant’s agent for service of process is Arik Azulay, 19501 NE 22nd Ave., Miami, FL 33180.


                                   JURISDICTION AND VENUE

         3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

  1331 and 1338(a).

         4.      This Court has personal jurisdiction over Defendant because it maintained


                                             COPYCAT LEGAL PLLC
                         3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                           TELEPHONE (877) 437-6228
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 2 of 14




  sufficient minimum contacts with Florida such that the exercise of personal jurisdiction over it

  would not offend traditional notions of fair play and substantial justice.

           5.     Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

  Defendant or its agents reside or may be found in this district. “A defendant ‘may be found’ in a

  district in which he could be served with process; that is, in a district which may assert personal

  jurisdiction over the defendant.” Palmer v. Braun, 376 F.3d 1254, 1259-60 (11th Cir. 2004). “In

  other words, ‘if a court has personal jurisdiction over the defendants in a copyright infringement

  action, venue in that court’s district is proper.’” McGregor v. In Tune Music Grp., No. 15-62044-

  CIV-ZLOCH, 2016 U.S. Dist. LEXIS 190302, at *11 (S.D. Fla. July 29, 2016) (quoting Store

  Decor Div. of Jas Int'l, Inc. v. Stylex Worldwide Indus., Ltd., 767 F. Supp. 181, 185 (N.D. Ill.

  1991).

                                                        FACTS

  I.       Plaintiff’s Business and History

           6.     Plaintiff was created as a Florida corporation in June 2005.            Plaintiff’s sole

  shareholder is Robert Stevens.

           7.     For the past sixteen (16) years, Mr. Stevens has been employed by Plaintiff as a

  high-end real estate photographer who specializes in aerial photography, stunning exterior and

  interior shots, as well as offering slide shows, virtual tours, and a full array of stock photography

  for luxury real estate industries.

           8.     Mr. Stevens is a pioneer of aerial real estate photography and has been engaging in

  creative and artistic means to capture such photographs long before today’s proliferation of

  consumer drone technology came to market.

           9.     Mr. Stevens travels throughout the State of Florida, nationally, and internationally


                                                       2
                                              COPYCAT LEGAL PLLC
                          3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                            TELEPHONE (877) 437-6228
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 3 of 14




  to photograph high-end real estate on behalf of Plaintiff’s clients. He has been contracted by over

  280 clients to take professional photographs of various real estate projects, including but not

  limited to the estates of numerous celebrities (such as Madonna, Don King, Greg Norman, Rod

  Stewart, Ivana Trump, James Patterson, Alexander Haig, Ann Downey, Frank McKinney, Chris

  Evert, and others).

           10.    Plaintiff maintains a commercial website (www.robertstevens.com) which

  describes the photography services offered by Plaintiff, hosts a sample portfolio of photographs

  taken by Mr. Stevens, and invites prospective customers to contact Plaintiff to arrange for a

  professional photo shoot.

           11.    Plaintiff owns the photographs taken by Mr. Stevens and serves as the licensing

  agent with respect to licensing such photographs for limited use by Plaintiff’s customers. To that

  end, Plaintiff’s standard terms include a limited, one-time license for use of any particular

  photograph by the customer only. Plaintiff’s license terms make clear that all copyright ownership

  remains with Plaintiff and that its customers are not permitted to transfer, assign, or sub-license

  any of Plaintiff’s photographs to another person/entity.

           12.    Generally, at the time Plaintiff creates its professional photography, it applies

  copyright management information to such photography consisting of “© AAP [year] all rights

  reserved” to the bottom left corner thereof. Plaintiff does this for added protection/assurance to

  keep unauthorized persons from utilizing/displaying Plaintiff’s work.


  II.      The Work at Issue in this Lawsuit

           13.    In 2015, Plaintiff created an aerial photograph titled “Connemara AAP 2015 c,

   Sept.    25,   2015”    (the    “Work”).      A    copy     of    the    Work      is   exhibited   below.



                                                       3
                                              COPYCAT LEGAL PLLC
                          3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                            TELEPHONE (877) 437-6228
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 4 of 14




            14.    The Work was registered by Plaintiff with the Register of Copyrights on August

  24, 2016 and was assigned Registration No. VA 2-033-301. A true and correct copy of the

  Certification of Registration pertaining to the Work is attached hereto as Exhibit “A.”

            15.    Plaintiff is the owner of the Work and has remained the owner at all times material

  hereto.


  III.      Defendant’s Unlawful Activities

             16.   Defendant owns and operates a moving and storage company.

             17.   Defendant advertises/markets its business primarily through its website

   (https://jacobandsonsmovingandstorage.com/),                     social                media         (e.g.

   https://www.facebook.com/jacobandsonsmovingandstorage/?ref=page_internal),                     and   other


                                                       4
                                              COPYCAT LEGAL PLLC
                          3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                            TELEPHONE (877) 437-6228
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 5 of 14




   forms of advertising.

         18.    On a date after Plaintiff’s above-referenced copyright registration of the Work,

   Defendant      published           the       Work         on       its      business    website   (at

   https://jacobandsonsmovingandstorage.com/service-areas/)




          19.   A true and correct copy of the screenshot displaying the copyrighted Work is

   attached hereto as Exhibit “B.”

          20.   Defendant has not and has never been licensed to use or display the Work.

   Defendant never contacted Plaintiff to seek permission to use the Work in connection with its

   website or for any other purpose.

          21.   Defendant utilized the Work for commercial use – namely, in connection with the

   marketing of Defendant’s business.

          22.   Upon information and belief, Defendant located a copy of the Work on the internet

   and, rather than contact Plaintiff to secure a license, simply copied the Work for its own

   commercial use.

          23.   Through its ongoing diligent efforts to identify unauthorized use of its photographs,
                                                        5
                                               COPYCAT LEGAL PLLC
                           3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                             TELEPHONE (877) 437-6228
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 6 of 14




   Plaintiff discovered Defendant’s unauthorized use/display of the Work in March 2022. Following

   Plaintiff’s discovery, Plaintiff notified Defendant in writing of such unauthorized use. To date,

   Plaintiff has been unable to negotiate a reasonable license for the past infringement of its Work.

           24.   All conditions precedent to this action have been performed or have been waived.


                           COUNT I – COPYRIGHT INFRINGEMENT

           25.   Plaintiff re-alleges and incorporates paragraphs 1 through 24 as set forth above.

           26.   The Work is an original work of authorship, embodying copyrightable subject

   matter, that is subject to the full protection of the United States copyright laws (17 U.S.C. § 101

   et seq.).

           27.   Plaintiff owns a valid copyright in the Work, having registered the Work with the

   Register of Copyrights and owning sufficient rights, title, and interest to such copyright to afford

   Plaintiff standing to bring this lawsuit and assert the claim(s) herein.

           28.   As a result of Plaintiff’s reproduction, distribution, and public display of the Work,

   Defendant had access to the Work prior to its own reproduction, distribution, and public display

   of the Work on the Website.

           29.   Defendant reproduced, distributed, and publicly displayed the Work without

   authorization from Plaintiff.

           30.   By its actions, Defendant infringed and violated Plaintiff’s exclusive rights in

   violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

   displaying the Work for Defendant’s own commercial purposes.

           31.   Defendant’s infringement was willful as it acted with actual knowledge or reckless

   disregard for whether its conduct infringed upon Plaintiff’s copyright.

           32.   Plaintiff has been damaged as a direct and proximate result of Defendant’s

                                                      6
                                             COPYCAT LEGAL PLLC
                         3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                           TELEPHONE (877) 437-6228
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 7 of 14




   infringement.

          33.      Plaintiff is entitled to recover its actual damages resulting from Defendant’s

   unauthorized use of the Work and, at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b), Plaintiff

   is entitled to recover damages based on a disgorgement of Defendant’s profits from infringement

   of the Work, which amounts shall be proven at trial.

          34.      Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

   pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

          35.      Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

   attorneys’ fees because of Defendant’s conduct.

          36.      Defendant’s conduct has caused, and any continued infringing conduct will

   continue to cause irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

   adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

   injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

         WHEREFORE, Plaintiff demands judgment against Defendant as follows:

     a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

     b. A declaration that such infringement is willful;

     c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

         Plaintiff’s election, an award of statutory damages for willful infringement up to

         $150,000.00 for each infringement of the Work;

     d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

     e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

     f. Permanently enjoining Defendant, its employees, agents, officers, directors, attorneys,

         successors, affiliates, subsidiaries and assigns, and all those in active concert and


                                                        7
                                               COPYCAT LEGAL PLLC
                           3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                             TELEPHONE (877) 437-6228
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 8 of 14




         participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights

         or continuing to display, transfer, advertise, reproduce, or otherwise market any works

         derived or copied from the Work or to participate or assist in any such activity; and

     g. For such other relief as the Court deems just and proper.


                                         Demand For Jury Trial

  Plaintiff demands a trial by jury on all issued so triable.

  Dated: July 19, 2022.

   COPYCAT LEGAL PLLC
   3111 N. University Drive
   Suite 301
   Coral Springs, FL 33065
   Telephone: (877) 437-6228
   dan@copycatlegal.com
   james@copycatlegal.com

   By: /s/ Daniel DeSouza, Esq.______
           Daniel DeSouza, Esq.
           Florida Bar No.: 19291
           James D’Loughy, Esq.
           Florida Bar No.: 0052700




                                                       8
                                              COPYCAT LEGAL PLLC
                          3111 N. UNIVERSITY DRIVE, SUITE 301 • CORAL SPRINGS, FL 33065
                                            TELEPHONE (877) 437-6228
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 9 of 14
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 10 of 14
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 11 of 14
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 12 of 14
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 13 of 14
Case 1:22-cv-22237-CMA Document 1 Entered on FLSD Docket 07/19/2022 Page 14 of 14



                                                                           




                                                                                                       




                                                                                 !" #      $%
                                                           #             &    '      




                   - ( )                                        - *  +                                  - ,  , 
                                         !                                      !                               !       
                                           .                                       //                               " //  0
                                          /     "1                                 0   2                            !       2
                                            /  .                                   "1  1                                  .  .3  
                       1  /    0    .                      1                   .   /0 !   
                         //     "                     " 0 $                    /       " 4 " 0 
                        4 "     0                           0 ! "                            1  / 
                       /     /  /   5                  5                                                 0    6 .  
                                                                                                                                      15


                                                                                                 +



                                                                      7                                                8 7
                           9:;   +                             <=>?@ 9A9>>??                             4 B'.     0
                    *  2 C AA;;=                                                                   11 B'.     0




                                                                                                                            ,   D E




                                                                                                                                                     ,   #7#F




                                                      G # F )#F) #H$F, I )!#+ ,8   C  J 99>?:?  $ J AKKL

                                                  #     D   )  #//   !1 I ! "  )    +

                                                                                            <=>?@ 9A9>>??
